                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                )  Docket No. 5:16-cr-43-RLV
                                        )
            v.                          )
                                        )
WILLIAM A. JOLIN                        )  ORDER
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant William A. Jolin in the Bill of Indictment in the above-captioned

case without prejudice, because he has entered his guilty plea to the bill of information in 5:17-cr-

15-RLV.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

William A. Jolin in the above-captioned Bill of Indictment be dismissed without prejudice.

 Signed: March 13, 2017




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